                                                                                                                  Page 1 of 1
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 2090. Know Your Customer

       Every member shall use reasonable diligence, in regard to the opening and maintenance of every account, to know
 (and retain) the essential facts concerning every customer and concerning the authority of each person acting on behalf of
 such customer.




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 • • • Supplementary Material: --------------




                                                                            8 or
 .01 Essential Facts. For purposes of this Rule, facts "essential" to "knowing the customer" are those required to (a)




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 effectively service the customer's account, (b) act in accordance with any special handling instructions for the account, (c)




                                                                       30 cs
 understand the authority of each person acting on behalf of the customer, and (d) comply with applicable laws, regulations,
 and rules.




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  Adopted by SR-FINRA-2010-039 and amended by SR-FINRA-2011-016 eff. July 9, 2012.




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